                   Case 2:09-cr-20133-JWL                                    Document 332                        Filed 09/03/10                     Page 1 of 3


AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                         RADELL BRADFORD                                                       Case Number: 09-20133-05-JWL-JPO
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
9 (1) There is a serious risk that the defendant will not appear.
9 (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                                                                  (See attached pages)

                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated: September 3, 2010                                                                       s/David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, U.S. MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
            Case 2:09-cr-20133-JWL       Document 332     Filed 09/03/10    Page 2 of 3



U.S.A. v. Radell Bradford
Criminal Action 09-20133-05-JWL-JPO

                  Part II - Written Statement of Reasons for Detention

   There are a series of factors I have to look at to determine whether or not the person should

be released or detained.

   The first factor is the nature and circumstances of the offense charged, including whether the

offense involves a controlled substance. It clearly does, so that is a negative.

   The next factor is the weight of the evidence. There is a Grand Jury Indictment so that is a

negative.

   The next factor is the history and characteristics of the person, including their physical and

mental condition. There is nothing that is a problem with release or detention, so that is neutral.

   The next factor is family ties. There is no clear indication of family ties to the community so

that is a negative.

   The next factor is employment. There is no indication of current employment so that is a

negative.

   The next factor is financial resources. There is no indication of substantial resources that

would assist her in fleeing so that is a positive.

   The next factor is length of residence in the community. It appears that the defendant has

previously resided for a long period of time in the Kansas City area but was not here at the time

of the arrest, so that is a negative.

   The next factor is community ties. There is no indication that she has community ties so that

is a negative.

   The next factor is past conduct, which includes history relating to drug or alcohol abuse,

criminal history, and record concerning appearance at court proceedings. At the time of the Texas

report there had been both marijuana and alcohol abuse as recent as 72 hours, so that is a

                                                     2
            Case 2:09-cr-20133-JWL     Document 332       Filed 09/03/10    Page 3 of 3



negative. There is an extensive criminal history, although most of it is minor. There are several

failures to appear, or being on release from events where she has not later shown up.

   The next factor is whether at the time of the current offense or arrest the person was on parole

or other release. It appears from the number of outstanding warrants that she was, although most

of them are for misdemeanors.

   Taking all those into consideration, including the presumption, the defendant will remain

detained.




                                                3
